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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF KENTUCKY
                              NORTHERN DIVISION
                                  COVINGTON


 CIVIL ACTION NO. 2:21-CV-00102-DLB-CJS

 JASON LAIBLE, et al.                                                         PLAINTIFFS

 V.                   UNITED STATES’ MOTION TO DISMISS

 TIMOTHY LANTER, et al.                                                     DEFENDANTS

                                    *** *** *** *** ***

        The United States moves to dismiss all allegations against it. In their First Amended

 Complaint, Plaintiffs allege that the United States is liable pursuant to the Federal Tort

 Claims Act (“FTCA”) for wrongful death and personal injuries they suffered as a result of

 Defendant Mason Meyer crashing the vehicle he was driving at a high rate of speed into a

 busy sidewalk café. [R. 79: First Amended Complaint, generally.] They allege that

 Sergeant Donald Scalf acted negligently in his participation in the high-speed pursuit of

 Defendant Meyer, a convicted felon and the subject of surveillance by the Cincinnati Police

 Department (“CPD”) and the Bureau of Alcohol, Tobacco, Firearms, and Explosives

 (“ATF”) to serve state felony and misdemeanor warrants for Wanton Endangerment, 1st

 degree; Fleeing and Evading from Police, 1st degree; and probation violation. [Id.; R. 58-

 1: ATF Operational Plan, at Page ID #443.]




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          I.        There is no jurisdiction under the FTCA for Plaintiff’s claims.

          “‘The United States, as sovereign, is immune from suit save as it consents to be

 sued....” Whittle v. United States, 7 F.3d 1259, 1262 (6th Cir. 1993) (internal citations

 omitted). As with the burden of establishing subject-matter jurisdiction, it is a plaintiff's

 burden to: “identify a waiver of sovereign immunity in order to proceed against the United

 States. If [it] cannot identify a waiver, the claim must be dismissed on jurisdictional

 grounds.” Reetz v. United States, 224 F.3d 794, 795 (6th Cir. 2000) (citing Dalehite v.

 United States, 346 U.S. 15, 30 (1953)).

          Among the limited waivers of the government's sovereign immunity is the Federal

 Tort Claims Act, which supplies a remedy against the United States for the torts of its

 officers and employees. United States v. Orleans, 425 U.S. 807, 813 (1976). The FTCA

 waives the government's sovereign immunity for claims brought against it “for injury or

 loss of property, or personal injury or death caused by the negligent or wrongful act or

 omission of any employee of the Government while acting within the scope of his office

 or employment.” 28 U.S.C. § 1346(b).

          However, “[t]he FTCA excludes several types of claims from its waiver of

 sovereign immunity[.] If a case falls within one of these statutory exceptions, the court

 lacks subject matter jurisdiction over it.” Wilburn v. United States, 616 F. App’x 848, 853

 (6th Cir. 2015) (citing 28 U.S.C. § 2680 and Feyers v. United States, 749 F.2d 1222, 1225

 (6th Cir. 1984)). 1

 1
   Federal Rule of Civil Procedure 12(b)(1) provides that a defendant may assert lack of subject-matter jurisdiction as
 a defense. When jurisdiction is challenged under this rule, the burden is on the plaintiff to prove that jurisdiction exists.
 RMI Titanium Co. v. Westinghouse Elec. Corp., 78 F.3d 1125, 1134 (6th Cir. 1996). In answering this question, the

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          Two such exceptions are the discretionary function exception and the private party

 analog requirement. In this case, both apply and require dismissal of all claims against the

 United States pursuant to Fed. R. Civ. P. 12(b)(1), and/or, alternatively, 12(b)(6).

           A. Discretionary Function Exception
          One exception to the Federal Tort Claims Act is the “discretionary function”

 exception. This exempts from the government's waiver of sovereign immunity “[a]ny claim

 ... based upon the exercise or performance or the failure to exercise or perform a

 discretionary function or duty on the part of a federal agency or an employee of the

 Government, whether or not the discretion involved be abused.” 28 U.S.C. § 2680(a). This

 exception “is broad in scope and places a ‘significant limitation on’ the FTCA waiver.”

 Snyder v. United States, 590 F. App'x 505, 509 (6th Cir. 2014) (quoting Montez v. United

 States, 359 F.3d 392, 395 (6th Cir. 2004)).

          The Supreme Court has outlined a two-part test for determining when the

 discretionary function exception applies. First, the conduct must be “discretionary,” not

 “controlled by mandatory statutes or regulations.” United States v. Gaubert, 499 U.S. 315,

 328 (1991) (citing Berkovitz by Berkovitz v. United States, 486 U.S. 531, 536 (1988)). Put

 differently, the action in question must “involve[] an element of judgment or choice,” rather

 than follow a “federal statute, regulation, or policy specifically prescrib[ing] a course of

 action” and leaving “the employee[ ] no rightful option but to adhere to the directive.”




 Court is “empowered to resolve factual disputes” and need not presume that either parties' factual allegations are true.
 Id.



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 Berkovitz, 486 at 536. Second, the exercise of discretion must be “the kind that the

 discretionary function exception was designed to shield;” i.e., it must be “susceptible to

 policy analysis,” Gaubert, 499 U.S. at 323, 325. There is a “strong presumption” that the

 second part of this Gaubert test is satisfied if a court concludes that the employee was

 exercising discretion. Id. at 324. See also A.O. Smith Corp. v. United States, 774 F.3d 359,

 364–65 (6th Cir. 2014) (brackets in original); Kohl v. United States, 699 F.3d 935, 940 (6th

 Cir. 2012). Additionally, “[t]he proper inquiry is whether the challenged actions are

 ‘susceptible to policy analysis,’ not whether they were the result of a policy analysis.”

 Rosebush v. United States, 119 F.3d 438, 444 (6th Cir. 1997) (quoting Gaubert, 499 U.S.

 at 324-25).

         Scalf’s role in the pursuit (for the purposes of this motion) is not entirely clear, but

 regardless involves entirely discretionary conduct. 2               Plaintiffs’ SF-95 Administrative

 Claim Forms state only that “[d]uring the high-speed pursuit of Defendant Meyer, CPD

 Sergeant Scalf’s role was as “pursuit OIC.” [Exhibit 1: SF95s, pp. 9, 20.] The Amended

 Complaint alleges that Scalf authorized the pursuit across state lines, permitted Lanter to

 make all decisions during the pursuit, did not inquire about speeds or traffic conditions,

 failed to maintain control of the pursuit, and failed to terminate the pursuit. [R. 79: First

 Amended Complaint at ¶¶39, 40, 64, 69, 72, 80, 98, 99].




 2
  The Sixth Circuit confusingly held that “any involvement by Scalf or the ATF, once Lanter began
 pursuit, was for the purposes of assistance only—not to control, direct, or supervise the chase,” but also
 found that “Scalf’s involvement in overseeing the pursuit was…squarely within the scope of work
 assigned to him by the ATF.” [R. 87: Judgment of the Sixth Circuit, Page ID 713, 715.] (emphasis
 added.)

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         “Unsurprisingly…federal courts that have encountered suits resulting from high-

 speed chases have overwhelmingly agreed that the government is shielded from liability

 under the FTCA’s discretionary function exception.” Reyes v. United States, No. 5:19-CV-

 00902-OLG, 2020 WL 248688, at *4 (W.D. Tex. Jan. 15, 2020) (internal citations omitted).

 That conclusion is in line with cases holding, more broadly, that “[t]he overwhelming

 consensus of federal case law establishes that criminal law enforcement decisions—

 investigative and prosecutorial alike—are discretionary in nature and, therefore, by

 Congressional mandate, immune from judicial review.” Mesa v. United States, 837 F.

 Supp. 1210, 1213 (S.D. Fla. 1993). See also Almon v. Kilgore, No. 3:19-CV-0004-GFVT,

 2019 WL 1179387, at *4 (E.D. Ky. Mar. 13, 2019) (“the decisions concerning whether to

 begin, continue, and/or end an emergency pursuit are discretionary acts” under Kentucky

 law).

         Likewise, courts in the Sixth Circuit have consistently excepted negligent hiring and

 retention claims from the FTCA based on the discretion involved in supervision. Snyder v.

 United States, 590 F. App’x 505, 510 (6th Cir. 2014); See also, e.g., Greene v. United

 States, No. CV 6:22-120-WOB, 2023 WL 309320, at *4, (E.D. Ky. Jan. 18, 2023), appeal

 dismissed, No. 23-5080, 2023 WL 3195098 (6th Cir. Mar. 6, 2023)(“[p]articularly in light

 of the deference generally due to officials when they decide how best to carry out the tasks

 required to maintain safety and security….as well as the narrow construction afforded to

 any waiver of sovereign immunity,” the plaintiff’s negligent supervision and hiring claims

 were subject to dismissal.) Regardless of his role, Scalf was exercising discretion and his

 conduct was thus subject to the discretionary function exception.

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              1.         There was no mandatory policy or regulation which controlled
 Scalf’s conduct.
         ATF’s Emergency Driving and Pursuit Policy, as set forth in the ATF Operational

 Plan, states as follows:

         Except under extraordinary circumstances HIGH SPEED PURSUITS are
         expressly prohibited. Circumstances that may necessitate a high-speed
         pursuit or emergency response may include, but are not limited to, the threat
         of serious bodily injury or death to an agent or other party.

         The following factors should be considered before driving at high speed or
         engaging in maneuvers that place anyone at risk of death or injury.

                 1. Severity of the offense or emergency.

                 2. Probability of apprehending the violator(s) at a later time.

                 3. Weather and road conditions.

                 4. Availability of emergency equipment.

         If the potential outweighs the benefits, the pursuit or response will not
         initiated or will be terminated.

         The use of roadblocks or ramming to stop a vehicle is a seizure under the
         fourth amendment, and must also be considered the potential use of deadly
         force, and therefore, should only be attempted when the use of such force is
         justified.

         In any type of driving, agents must have the utmost regard and respect for
         the safety of others.

         [R. 58-1: ATF Operational Plan, Page ID #448 (emphasis in the original).] 3




 3
   The standard ATF Operational Plan form includes this policy and a number of other policies; this
 language was not specifically included for this operation.

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        The Sixth Circuit has already reviewed and determined that the pursuit was

 appropriate as a threshold matter:

        While the ATF’s policies expressly prohibited high-speed pursuits except in
        extraordinary circumstances such as “the threat of serious bodily injury or
        death to an agent or other party,” such circumstances were present. ATF
        Operational Plan, R. 58-1, Page ID 448. First, Meyer had a history of
        violence, including threatening to shoot law enforcement officers and others,
        and pistol whipping and holding guns to the heads of people who owed him
        money for drugs. Second, the day before the car chase CPD and NKDSF
        were informed by a reliable source that Meyer had an inoperable tumor,
        causing a terminal illness. As a result, Meyer had little concern for his life or
        the lives of others, and bragged about killing a man, kidnapping individuals
        for outstanding drug debts, and intended to shoot at the police and die before
        being jailed again. Given the potential danger Meyer posed, the ATF
        operational plan expressly contemplated the possibility of pursuit.

 [R. 87, Page ID 714-15.]

        Here, the policy provided considerations for involved ATF personnel, but did not

 mandate that an officer act in a certain way. Otherwise put, the policy “explicitly

 contemplates an element of choice” rather than laying out a mandatory plan. Reyes, 2020

 WL 248688, at *2 (finding border patrol's “Emergency Driving and Vehicular Pursuit

 Directive” was not mandatory); A.O. Smith Corp., 774 F.3d at 367 (“The operational

 flexibility needed to assess these factors demonstrates that the Corps has discretion.”).

 Notably, the policy directly addresses drivers but does not mention a person participating

 via radio. Aside from this standard policy, there is no other federal statute, regulation, or

 rule that dictates how an officer or agent should conduct a pursuit.

        The Operation Objectives of the ATF Op Plan directed the Cincinnati ATF Field

 Office to “conduct surveillance and employ both traditional and non-traditional

 investigative techniques to assist . . . the Cincinnati Police Department with the

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 apprehension of the listed occupants for felony and misdemeanor warrants.” [R. 58-1, Page

 ID #442.] The Plan directed that CPD would use both marked and unmarked vehicles to

 make traffic stops; ATF could ride in CPD vehicles to affect stops and would assist with

 interviews, searches, and security during those stops; ATF would not initiate traffic stops

 without a CPD detective or officer present; and vehicle pursuits would be initiated and

 monitored per CPD pursuit policy, with ATF not initiating any pursuits. [Id. at 445.] The

 Plan further directed that “In the event the listed individuals are positively identified by

 ATF surveillance units, CPD uniform vehicles will be advised and directed to conduct a

 traffic stop following CPD policy, ATF will assist as needed.” [Id.] The surveillance units

 were directed to set up a perimeter around the target residence. If Defendant Meyer gained

 access to a vehicle, agents were to “attempt to conduct a vehicle stabilization pin.” [Id.]

 If they were unable to pin the vehicle, CPD uniform officers would attempt to conduct a

 felony traffic stop with assistance from their K9’s per their “SOP.” [Id.]

        The Cincinnati Police Department Pursuit Driving policy, like its ATF counterpart,

 does not mandate that the OIC or anyone assisting act in a particular way during a pursuit.

 The policy very specifically requires that the driver/pursuing officer relay certain

 information (including speeds involved) to the ECC, but with respect to the OIC, the policy

 is vague, noting that the OIC will “retain control,” “continually monitor and assess,” “direct

 specific units…set posts…and terminate the pursuit,” but does not include any stipulations

 about how those duties should be carried out. Further, the policy clearly states that “final

 decisions will rest with the pursuit OIC.” [R. 40-2 at Page ID #348-360: Cincinnati Police



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 Department Procedure 12.535 EMERGENCY OPERATION OF POLICE VEHICLES

 AND PURSUIT DRIVING.]

        The conduct at issue—assisting in a police pursuit via radio or acting as officer in

 charge—was not subject to a mandatory policy by ATF or CPD; thus, all Scalf’s conduct

 was discretionary and the first factor of the discretionary function exception test is met.

               2.     Decisions involved in police pursuits are susceptible to policy
 analysis.
        From the outset, “[t]here is a ‘strong presumption’ that the second part of [the]

 Gaubert test is satisfied if,” as here, “a court concludes that the employee was exercising

 discretion.” A.O. Smith Corp., 774 F.3d at 3665.

        In any police pursuit situation, including the one at issue here, participants must

 make split-second decisions to enforce the law and balance safety concerns. These

 decisions are theoretically, if not actually, susceptible to policy analysis. See Jude v.

 Comm'r of Soc. Sec., 908 F.3d 152, 159 (6th Cir. 2018) (the policy analysis is a “social,

 economic, or political” one, and “need not have actually occurred,” but “rather the decision

 need only have been theoretically susceptible to policy analysis.”). Furthermore, “[t]he law

 in this circuit is that even the negligent failure of a discretionary government policymaker

 to consider all relevant aspects of a subject matter under consideration does not vitiate the

 discretionary character of the decision that is made.” Rosebush, 119 F.3d at 444 (citations

 omitted).   For these reasons, all claims against the United States based on alleged

 negligence of Scalf in exercising his discretion must be dismissed.




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         B. Private Party Analog
        “The Federal Tort Claims Act grants a limited waiver of sovereign immunity and

 allows tort claims ‘in the same manner and to the same extent as a private individual under

 like circumstances.’” Young v. United States, 71 F.3d 1238, 1241 (6th Cir. 1995) (quoting

 28 U.S.C. § 2674). Waivers of sovereign immunity and any conditions on such waivers

 must be “construed strictly in favor of the sovereign.” U.S. Dep’t of Energy v. Ohio, 503

 U.S. 607, 615 (1992) (quoting McMahon v. United States, 342 U.S. 25, 27 (1951)).

        The FTCA provides that courts may only exercise jurisdiction over: claims against

 the United States, for money damages . . . for injury or loss of property, or personal injury

 or death caused by their negligent or wrongful act or omission . . . under circumstances

 where the United States, if a private person, would be liable to the claimant in accordance

 with the law of the place where the act or omission occurred. 28 U.S.C. § 1346(b)(1). It

 also provides that “[t]he United States shall be liable, respecting the provisions of this title

 relating to tort claims, in the same manner and to the same extent as a private individual

 under like circumstances.” 28 U.S.C. § 2674. An FTCA claim must therefore be:

               “[1] against the United States, [2] for money damages, . . . [3]
               for injury or loss of property, or personal injury or death [4]
               caused by the negligent or wrongful act or omission of any
               employee of the Government [5] while acting within the scope
               of his office or employment, [6] under circumstances where the
               United States, if a private person, would be liable to the
               claimant in accordance with the law of the place where the act
               or omission occurred.”
 F.D.I.C. v. Meyer, 510 U.S. 471, 477 (1994) (quoting § 1346(b)).




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         As the Supreme Court of the United States recently explained, FTCA cases often

 contain “overlapping questions about sovereign immunity and subject-matter jurisdiction.”

 Brownback v. King, 141 S. Ct. 740, 749 (2021). This is because, “in the unique context of

 the FTCA, all elements of a meritorious claim are also jurisdictional.” Id. (citing Meyer,

 510 U.S. at 477). So the FTCA’s limited waiver of sovereign immunity, and thus its limited

 grant of subject-matter jurisdiction, hinges on whether a private person could be subject to

 state law liability under similar circumstances. See Id. (“a plaintiff must plausibly allege

 that ‘the United States, if a private person, would be liable to the claimant’ under state law

 both to survive a merits determination under Rule 12(b)(6) and to establish subject-matter

 jurisdiction.” (quoting § 1346(b)(1)); United States v. Olson, 546 U.S. 43, 44 (2005)

 (holding that “the words ‘like circumstances’ do not restrict a court’s inquiry to the same

 circumstances, but require it to look further afield.”) (emphasis in original). See LaBarge

 v. Mariposa Cnty., 798 F.2d 364, 367(9th Cir. 1986) (“[T]he federal government could

 never be exactly like a private actor . . . [so] a court’s job in applying the standard is to find

 the most reasonable analogy.”). 4

         Although the FTCA’s analogous private liability provisions rely upon the

 framework established by state tort law for guidance, see §§ 2674, 1346(b), whether a

 private person in like circumstances would be subject to liability is a question of sovereign

 immunity and is therefore ultimately a question of federal law. See Olson, 546 U.S. at 44


 4
  Importantly, liability under the FTCA cannot be predicated on acts which would make state or local
 governmental entities liable, but not private citizens; “[t]he standard for tort liability under the FTCA, then,
 must be found in local laws applying to private citizens, not government employees.” Lee v. United States,
 570 F. Supp. 2d 142, 149 (D.D.C. 2008); see also Olson, 546 U.S. at 45–46.


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 (rejecting cases finding waiver because local law would make a state or municipal entity

 liable); see also King, 141 S. Ct. at 749 (holding all elements of FTCA claim are

 jurisdictional); United States v. Mottaz, 476 U.S. 834, 841 (1986) (stating the scope of the

 United States’ waiver of sovereign immunity defines the extent of a court’s jurisdiction

 (citation omitted)); Makarova v. United States, 201 F.3d 110, 113 (2d Cir. 2000) (affirming

 Fed. R. Civ. P. 12(b)(1) dismissal based on the lack of analogous private liability).


        There is no private party analog for an individual officer or agent who supervises or

 assists in a vehicle pursuit via radio. Courts which have considered this issue have cited

 several examples of governmental employees who have private counterparts: those who

 drive vehicles, build buildings, maintain buildings and parks, operate lighthouses, or even

 inspect mines. See, e.g. Howard v. U.S. Dist. Ct. for S. Dist. of Ohio, No. 2:10-CV-757,

 2011 WL 1043961, at *3–4 (S.D. Ohio Mar. 17, 2011); Figueroa v. United States, 739 F.

 Supp. 2d 138 (E.D.N.Y. 2010). Private parties could perform all these activities and could

 potentially be held accountable for negligently performing their duties.          However,

 undersigned counsel cannot identify a case or statute which is on-point or containing even

 “an appropriate analogy” under Kentucky law to a police officer or federal task force

 officer participating via radio in a pursuit. See Firebaugh Canal Water Dist. v. United

 States, 712 F.3d 1296, 1303 (9th Cir. 2013) (An appropriate analogy is sufficient for this

 purpose.). Crucially, as stated in footnote 1, supra, when a defendant challenges subject

 matter jurisdiction, the burden is on the plaintiff to prove that subject matter jurisdiction

 exists. See RMI Titanium Co. v. Westinghouse Elec. Corp., 78 F.3d 1125, 1133–35 (6th


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 Cir.1996). Otherwise put, “a plaintiff's failure to identify an appropriate private party

 analogue (sic) deprives the court of jurisdiction to hear those claims.” Tyler v. United

 States, No. CIV-19-01102-JD, 2024 WL 1862324, at *4 (W.D. Okla. Apr. 29, 2024), citing

 Pappas v. United States, 617 F. App'x 879, 882 (10th Cir. 2015) (unpublished) (explaining

 that the party asserting jurisdiction “bears the burden of proof to establish that the court

 possesses subject-matter jurisdiction based upon analogous Oklahoma private liability”)

 (internal citations omitted). Because no private party analog exists for a law enforcement

 officer assisting with a police pursuit by radio, the Court lacks jurisdiction to hear claims

 based on Scalf’s alleged negligence.

        II.    The Plaintiffs cannot establish that Sergeant Scalf owed a duty to them,
               making a claim for negligence under Kentucky law unsupportable.
        In Fryman v. Harrison, 896 S.W.2d 908 (Ky. 1995), and its progeny, Kentucky

 Courts have determined that public officials are not guarantors of public safety and, as

 such, do not have a duty of universal care to protect the general public from harm or

 accident. Instead, when a public official is involved, Kentucky courts use the “relationship

 doctrine” to determine whether a duty is owed. City of Florence, Kentucky v. Chipman, 38

 S.W.3d 387, 393 (Ky. 2001). “[P]ersons who serve the public must be allowed to carry out

 their function without fear of having to answer for harm caused to an individual by events

 which are outside the control of the public official. Public officials are not an insurer of the

 safety of every member of the public, nor are they personally accountable in monetary

 damages only because the individual is a public official charged with a general duty of

 protecting the public. Id. at 393, citing Ezrel v. Cockrell, 902 S.W.2d 394 (Tenn. 1995).


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 Therefore, to establish a negligence claim against a public official, the complaint must

 allege a violation of a special duty owed to a specific identifiable person and not merely

 the breach of a general duty owed to the public at large. See Janan v. Trammell, 785 F.2d

 557 (6th Cir.1986.)

        “The rationale behind the public duty doctrine is that to impose a universal duty of

 care on public officials would severely reduce their ability to engage in discretionary

 decision-making on the spot.” McCuiston v. Butler, 509 S.W.3d 76, 80 (Ky. Ct. App. 2017)

 (internal citations omitted.) “In order to establish an affirmative legal duty on public

 officials in the performance of their official duties, there must exist a special relationship

 between the victim and the public officials.” Fryman, 896 S.W.2d at 910. To establish a

 special relationship, it is necessary to demonstrate that “(1) the victim must have been in

 state custody or otherwise restrained by the state at the time the injury producing act

 occurred, and (2) the violence or other offensive conduct must have been committed by a

 state actor.” McCuiston, 509 S.W.3d at 80-81.

        Scalf did not have a “special relationship” with the Plaintiffs and thus, owed them

 no duty. There is no dispute that the Plaintiffs in this case, the Kleins and the Laibles, were

 not in state custody, nor were they “otherwise restrained by the state” at any time during

 the pursuit. To be sure, some individuals might form “special relationships” with an officer

 or public official even when not technically in custody; for example, the Court found that

 a confidential informant established such a relationship with his police handlers in Gaither

 v. Just. & Pub. Safety Cabinet, 447 S.W.3d 628 (Ky. 2014).



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         In the instant case, though, Plaintiffs had never made any contact with Officer Scalf

 whatsoever. The connection between an officer assisting in a chase via radio only is the

 type of tenuous link between alleged negligence and injury that the special relationship

 doctrine is designed to avoid. See id. at 637-38 (“[t]he ‘special relationship’ rule was

 developed in the context of injuries suffered by members of the general public

 disassociated with and far removed from negligent acts that allegedly caused their

 injuries.”). Thus, the first prong of the special relationship test cannot be fulfilled in this

 case as to Scalf.

         Even accepting the facts exactly as presented by Plaintiffs and viewing those facts

 in the light most favorable to them, it remains clear that there was no duty owed by Scalf

 in this situation. 5 Without establishing duty, the Plaintiffs cannot make a claim of

 negligence.      McCuiston at 79, citing Com., Transportation Cabinet, Department of

 Highways v. Guffey, 244 S.W.3d 79, 81 (Ky. 2008) (Generally, to make a claim of

 negligence, a party must establish that there is a recognized duty, a breach of that duty, and

 a    resulting      injury.     Proof      of    each      element      is     absolutely      necessary.).

 Thus, Plaintiffs have failed to state a claim for which relief may be granted, and all claims

 as to Scalf are susceptible to dismissal under Fed. R. Civ. P. 12(b)(6).




 5
  “[W]hen considering a Rule 12(b)(6) motion to dismiss for failure to state a claim, the district court
 must ‘construe the complaint in the light most favorable to the plaintiff and accept all factual allegations
 as true.’” Adkisson v. Jacobs Eng'g Grp., Inc., 790 F.3d 641, 647 (6th Cir. 2015), citing Laborers' Local
 265 Pension Fund v. iShares Trust, 769 F.3d 399, 403 (6th Cir. 2014).



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        III.   Conclusion
        Because the discretionary function exception to the FTCA applies to this claim, the

 United States has therefore not waived sovereign immunity, and Plaintiffs may not proceed

 with this claim. Additionally, the court lacks jurisdiction because there is no private party

 analog for a vehicle pursuit participant via radio and, therefore, the FTCA does not cover

 these claims. Finally, it is clear under Kentucky law that no duty was owed to Plaintiffs

 by Scalf, and thus the Plaintiffs cannot maintain a cause of action for negligence under the

 FTCA. For these reasons, the Plaintiffs’ claims should be dismissed as against the

 Defendant United States.


                                           Respectfully submitted,

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                              CERTIFICATE OF SERVICE

         I certify that on May 29, 2024, the foregoing pleading was electronically filed with
 the Clerk of the Court by using the CM/ECF system which will serve notice of the filing
 on all counsel of record, and was served via regular mail upon the following:

 Mason Meyer
 No. 199699-01
 Butler County Jail
 705 Hanover Street
 Hamilton, OH 45011
 Defendant

 Austin Lagory
 13718 Beaver Road
 Union, KY 41091
 Defendant


                                           s/Tiffany K. Fleming
                                           Assistant United States Attorney




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